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EXHIBIT A-l

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PRlvATE MoRTGAcE msuRAN cglscl.osune
E‘M\Mw§l

 

 

 

 

D?..J.LQH."“ 24_'12£°3
comment monsanto mwmv manson ama me wausau
cort Rtoa Homoamorloan Mortgogo Corporatlon
97 Stophanla Way 1598 Toohnolcgy Way
Charlus Town, WV 28414 Dehver, 00 80237
fm wl convictions no.

 

 

 

`Y'cu are obtaining a mortgage loan that requires private mortgage insurance (“l’Ml"). PMI protects lenders and others against
Bnaneial loss whenburrowera dofoult. Chargcs forthe insurance aro added to your lounpaymcnta. .

Under certain oireumstancos, Eederal law glvca you the right to cancel PMI or requires that PMI automatically terminate 'Iitls
disolcmro describes when cancellation and termination may occur. P|eaac note that PMI is nat the same as property/ouauulty
lnsuranao-eueh as hot:neownor’a or£locd mmcc-ovhiohproteois you against damage to the property. Cancoliotion or termination
oEPM! does nat affect any obligation you may have to maintain other typcc of ioa\trnnoc.

In this disclosing “ioan" means the mortgage loan you are obmining; “you" means the original borrower (or his or ncr
successors ex assigns); and “propcrty" means the property securing the mortgage loan. -

Iultinl Amortimtien Bchodulo

An unionization schedule showing the principal and interest due on your loon, along with the balance remaining after each
scheduled payment la attached for your reference

Borrower chne.\wd Cunceilotion ol.‘PMl
You have the right to request thath be canceled en or afterthe following datos:
(l) 'Ilro dale the principal balance oi’your loan is drst.rohedulad to roach 80% of the original value ofiha property.
Tlrls date la Novomber 01, 2014 . (Ifycur loanbas a balloon feature with a. fixed interest rate and no
conditional right to nilnanoo, this data will not be reached before your loan mattmss.)
(2) 'Ihe dale the principal balance aca/ally reaches 80% o!tho original value oi’the property.

“Orlginal valuo” means the lcaecr ortho connect sales price o¥thc property or the appraised value of the property at the time the

loan was olesod. I£tlzls loan rcdnaaees nn existing loan secured by the property, “o:igiml value" means the appraised value rolled on
by thc lender to approve this loan.

¥MI will only be canceled ifnll the following conditions aro eodsiiod:

(l) you submit a written request for cancellation;

(z) you hoveagooclpoymenthistory:

(3) you executh thapayments required byyour loan; and

(4) we receive, ii'xequested and at your expense, evidence eatia&etory to the holder oi’your loan that the value ofthe
property line not declined below ltx original valuo, and ccrtlfloution that them are no subordinate liens on
thc pxopctty.

A “mood payment history” means no poymonta 60 or more tim post dncwithln two years and no pwmenta 30 or more days post
due within oneyenroi'tbe later of (tt) the oawcllation date, or (b) tva date you submit a request for cancellation

Automntie 'l'ex'minotlon oIl.‘MI
Ifyou am cio-rent on your loan payments, PM[ will automotiealbr terminate on the date the olpcl balance of your loan is rust
scheduled to reach 78% ofthe original value ofilw property. Tbls date is January 01. 2 6 . (I£your loan has e balloon

feature with a fixed lnmostraie and no conditional right to milnanau, this date will not be reached before your loan matuxcs.) l£you
ore net current on your loan payments ne ofthnc dooe, PMI will automode terminate on the iit-st day of the month immediately
following thc date you thoma&:r become current on your poymonts.

E:oocptiono to szoollatlon and Autornode Torminotion
'l'ite cancellation and automatic twoluatlonrequimmsata described above do nat apply to certain loans that my present a higher

risk of dcawlt. Ycur loan, bowuvor, does not kll into this catego¢y. Aeoordingly, the cancellation and automatic termination
provisions described above apply to your loan. `

By signing balow, !lwe hereby aolmowledgo receipt ofthis rrlvato Mortgage moranoo Disolosnre.

_&* chem
Bo:rowchurt R 00 ' barn narrower beto

narrower onto Bonwer one

 

 

 

Houo\vor hate Bomwer pma

 

 

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EXHIBIT A-»Z

 

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($er‘\;iojerjcop§ 1).. .- b "

     

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4500 man narrarnrvd. 516 nga 99
FOrtWOIfh,TX?S'iSS “"'l““""'~'----“---- -- ’¥... ag

Thle document was prepared by BAC llan bonus Servlclng, LP - \ EEI@WKHMWHMMMMYWMMMF
Wspncs A&)ovo ?nls blue l=czr Recorviing linin} ~ .

HDME AFF€}RDABLE W§GD§F§CAT{GN AGREEMENT

lSte§§ ’l'wo or `ll“wo~$w§.;r Documenta&lon Pré:)cess}
Borrower (“l")l: CURT RFCE
Lendar {“Lendnr”): BAC l~lome i.oans Sezvlclng, LP
Dale ofllrst lan Smurity instrument (“Morlgagn") and Nole (°"Notra“)::Auguei 24, 2885
Lnan ¥\lumben
Propnrty Addre$s"("?ropeny”): 97 STEPMNSE WAY, CHARLES 'YOWN, WV §§¢i'l¢§ l
(Sn§SExnibliA for Leqal Desorlr)firm. if and wham recordan becomes nacaannry)
ME :
MERS ls lvlortga'gn Eleclrnnlr: Re~glaumlon Syalemrz. lno. M§RS ls a separa§e con)orallon inst ls ander
solely as a nominee for Landar and Lender‘s summa and asslgns. MERS la organlzed end axlsting

under ina laws cf Delaware, and has an address and talepnone number or F.O. on 2026, Fllnt, lvll
48551~2026, (BSG) BYS»MERS. »

»._-..__`..`,

ll

_`_....
...~___.,.._,

 

ll my repreaeniallons in Secllon 1 continue lo ha ime ln all mainrlnl respsscta, men this l~lome Affordnble
Modlficnllon Agra@ment (“Agraamenf‘) wlll, as ssi forth ln Sectlon 8, amend rand suppl§mnnl (‘l) the
l\/lortgaga ar D@ed ol"l`rusi on the Proprarly, and (2) the Nolc~) secured by the l\florlgage. ”l’hs lvlorlgaga and
NQte iogether, as they may previously have been emendnd, are referred 20 as lhn “Loan Dowrnenls."

Gapllallzed terms uned ln wls.&c;rnemem and not defined have inn mannan given lo mem ln man
Documenls;

l understand;tnat after l sign and return two copies of tth Agr@ramenl to inn Lender, ina l_ancler wlll send

ma a signed cnpy of this Agreemen& Thls Agreemant wlll not take effect unless ina precondlrlons sat
forth in Sncllon 2 have bean satlaliad. '

*l. lay Renrnsantn§ona. l certify, reprenanllo Landarand agren:

A. lam experiencan a financial hardshlp. and as a msult, (l) l am in default under ina l.oan
Uocznmamn, and (ll) l do root have sulrlcl‘am income or access lo softwle llquld annals to
make the monthly mortgage payments now or ln ina naar luture;

B. l ilva fn the Properly as my principal realclence, and lbs Prr>pnrty mae not bean condemna<l;

‘l. if mere ia mora than one narrower ar Mnngagor executan mls dowrnnrrl, each la referred la esa "l." For purposes of ll‘.le
document words n!gn§fylng inn alngular lunch as 'l') ahall lncriud@ the plural farrell aa °\l'e*) and visa verna where appropz~la'.e.

MULTJSTA’\’B ¥~l€in'lE AFF°RDABLE MOD|FIOA'UDN AGREEMEN¥~ Blna\!l} Famlly - Form 3’!%? 3le {`page ‘l‘of?)
. 8318 OMG

    

 

 

 

 

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" ="'5~'=\7\-"11&.’§)?;8;§"l:ri§fiw :)§:. ;z;,::;: 4 ,_ ;:»l l"*r! ‘;

¢‘.; -';.~.:/':;j »':/_,A_M z`j ,": /. \.N …~r;'. … §‘§.;~`
-.iiim.-f.¢i.z..»e,i;,= l ii §

 

~ . C, Tner@ linn bean no change in ind oivnnrsnip of inn Properiy since l signed the Lonn
Uooumnnn~:»;

D, l have provided donnmeniniinn for all income dial l receive iand l understand inail nm not
required to disclose child ad port or alimony unions l sneed lo rely nn such income when
rnduodiing in qualify for inn ome awardable liilodliioallnn program (“l’rogrnm"});

E. Undnz’ penalty of porjury, all doddrnonis and inionnnilon l news provided to tender in
nnnnnnllon with lnis ngrddrnanl, including tire documents and information regarding my
ailgli:~llily for inn Progrdrn, md true and correct

F, if l.encier rdqulcnn ma id obtain credit counseling in oonnoniion with ina Program, l will do so;
and .

G! i nova mario dr will mann nil payments rdqulrnd under n ”l"riai Peridd Pinn or man Worl<oul
Pinn.

l
2. Arzl<nowiodgnmon$s and Prooondillonn id lilledliinntion. l undersland and acknowledge india

A. if prior to ina Modlllcallon Elionllve Dnl;d an set forth in Seoiinn 3 inn inner determan dial
my ronnzss@nlnllons in Snoiloni are no longor true and oorrenl, inn l.oarr Dooumen'<s will nol
isn mcmillian and this Agrdonidni will terminate. in linn aveni, tire i.o'nddr will have nil di ina
rights and remedied provided ny ina l.onn Doounionte; and -

l?». l understand dial ina Lodn Donumontd will not bn modified unions and unli| (i) l receive from
ind Ldndnr a copy of iirls Anrdnmon’r signed by inn i.onoldr, end (il) ind iiiiodilinalion Elinollvo
Daln ida dennard in anniinn 3) has occurred ii’urlhnr unddrainnd and agree thai inn l-enr:idr
lillil nol no obligated or bound lo maine any modlnrrnllon or ind l.oan monuments iii fail to
meet any one niine requirnmnnln under this Agrdnrnent.

3. ind li!iodlilnntion. ii my representations in Sooiion 'l minimus in bd lrun in ali maidnal mspncls
and nil pmoondliions in ind modification del forth in En<:llon 2 have indem mo!, inn Lonn
Docurnenis will automaiicnliy become modined on ind int day of SQplnmnor, 2010 inn
“i\iodiflcnrion El“idorivn Unlo”} and ali unpaid idle charges that remain unpaid will bd waive l l
undordiand lnr»;n ii l nave failed to mann any poymnnld ns a precondlllon of this modlllcnlion uner
n won<nul plan or trial period plan this modiiicniion Will not take effect `l‘no linn modilidd
payment will be dun nn lsi day of Senlorni)nn 2010. ' - ~' z

illl 'l"nc;i new lvidlurlty idniez will bd: Septnmbor 'l, 2036.

B. `l’nn modified Prinolpdi balandn di my Nol€i will include all nmuunls and arrearages thatwlii bn
paint due as of idle irriodlilontion Elieullun Daid (includlng unpaid land ddferred inbnnanh fo@n,
escrow advances and other croninl but mcmian into chargesl oollonlivoiy, “Unpaid Arnounls“)
inns any nmounin paid lo inn i.nnder but not previoqu credile lo my i.oan. Tire new
Prlnclpal balances of my l\loia will ind dzdu,‘i§;i.m (inn "l\iew Pnn<:lpnl Bdldnod“). l undorninnd
innt by agreeing lo add inn Unnald Arnounid id ind ooistnnding principal bnlancn, ind ndde

l Unz)nid Anrodnis accrues lnldrdoi based on _l.iro internal in annot under ibla Agrnernoni. l also
understand thai linn mennn lnlnrasi wlll now andrus on ina unpaid lninrost inert is added id ina
oulolnndlng principal balanced which would not happen wllnoul thin Agrnorn@nir

MULT!STATE HOZ£!E AF?¢RDABLE TAQDZFICA‘UQN AQRSEN¢EH? - S!ngifi Pniiniiy ~ irwin -'$i§$* El’i`§§ fringe 2 01 7)
963 wm `

 

 

 

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§x¢§a_ .?‘§,

 

G. lnlorosl al inn raid of 3,000% will begin lo accrue on inn l\iow Pn`ncipol Baianc-;= as of Augusi
' 1, 2010 and tile nrsi now monli"».iy payment on tile now principal balance will be due on
Sepiornl)or i. 2010. ivly payment schedule for ins modified Loan is as foilows:

 

 

 

 

 

Yanm lnloros:ilnlc lnxcrcsl luna Cllnngu Monihiy l’rln & Mmillrly E:.crow "l`nlnl nionilriy l°uymem Bogins On Numi)cr oi'
Dnlo !nl Pnymonl Puymon\ l’n)'n\eni‘ Monll)ly
Amouni A\no\u\i* ling/muan
1'5 3.000% Angnal lll, 2910 51,567.99 §4‘!4.'16 $2,012.45 Soplelni)cr 01,2010 60
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pcrlodlozlly periodically
'.’~?.7 4,37$% Anguul 0§, 3016 Sl,‘i?'l’ll`l billy udjusl Mny olljusl Sc‘piomi>cr 01,',2016 34l
periodically periodically

 

 

 

 

 

 

 

 

 

“ Tho escrow poyrnonls may be adluoied periodically in accordance wiill applicable law and
lilorefore my total monlhiy payment may change accordingly

`i‘he above forms in this Seollon 3.C. shall supersede any provisions lo tile conlrary in tile

Loan Dooumonls, including but nol ilmilod lo, provisions for on odjuolable or stop lnlorost
rale.

i understand illoi. ii i have a pay option adjustable rule morigogo lonn. upon modification ina
minimum monthly payment opilon, iilo inlorosi~only or any oilior payment opiiono Wlli no
longer bo olloroci and lllal ind monlnly payments described in inn above payment schedule
for my modified loan will bn inn minimum payment that will be due each monl'n for lllo
remaining form of iho loan, iv.=y modified loan will not novo o nogolive amortization iedluro
iilat would allow mo lo pay less lhan illo interest due insulian any unpaid immoral lo be
added lo ind oulsinndlng principal lminnco. `

`i`l'il$ LGAl\l [S PAYABLE ll\l FULL AT l\/`iATURl`iY. YOU MUST REZPAY THE ENTiRE
PR\NC|PAL BALANCE C)F 'l`ili§ LOAN AND UNPA{D lNTEREST THEN DUE, Ti'lE
LEl»lDER lS UNDER i\lO OBLiGATiON 'l`O REFlNANClZ `i`l'lE LOP\N AT 'l'l“l/l\'l" `i‘ll\/il§. YOU
Wll.l., TllEREFORE, Bi':` REQUIRED TO l\/iAKE PAYMENT OU`i` CF OTHEZR ASSETS
THAT YOU l`\/iAY OWN, OR YOU WH,L l~iAVE TO FlND A LEi‘lDEZR, W|'llCH MAY ESE Tl'li£
LENDER YGU l“i)°\\/E THE l.CiP\l\i WITH, WiLLiNG TC) LEZND YOU THE MONEY. il~' ‘/OU
REF|NANCE Tl~ilS LOAN A'l` l\:iATUFZi`i"`/, YOU lleY i'i.i\\/E TO PAY SOli/iE OR ALL OF
Tl~lli G!.OSING COSTS NQRlW\i.LY ASSOCIATED Wi`li'| A NEW LO!>\N E\/l£l\l |F VOU
OElT/\ll\l REFiNANClNG FROM Tl~iE S/?\ME l.El\lDER.

D. l will bo in dofnuli ll i do nol comply wlii) the terms of lllo i.oon Dor:umonls, as modified by .
lino Agreomont.

lZ. if a default role of lnieresl is permiilod under ina i.o£-ln Dooumonls, iilon in inn event of

dolauil under tile loan Dooumonlo, as amended i‘no iniorosl mai will no due will bo mo rale
set forth in Sooiion ll.Cl ‘

41 Addiiional Agrnornonio. l some to inn following

MULT[STAT§ HOME AFFCRDAELE frlUDlFlGA`i'IGN AGRGEMENT ~ Si¥lljiu Fnllliiy - Form 3157 3/0':`1 (,’)eg)éi 3 Of 7}
BlllB GBJ(>S\

      

 

 

 

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A. Thnt oil persons who signed the l.oon Documonto or thoir authorized reprosentative(s) have
signed this Agroomont, unions (i) o borrower or co.i)orrowor is deceaooo'; (ii) the borrowor and
oo»l)orrowor are divorced and the property has noon transforer to olin spouse in the divorce
dooroo, the spouse Who no longer has on intoroot in the property noon not sign this
Agroornont (olthough inn non~:)igning spouse mary continue to bo hold liable ior the obligation
under the Loan Doournonio); or (ili) tito tender has Woivoti this requirement in writing.

B. i`liat this ngroontont shott suporsooo tire terms ot any modification iorhearanoe, Trial Perioci
titan or Wori<out Pion that l proviouoiy entered into with Lonrlor.

C, To comply, excerpt to the extent that they ore mooiiioci by this Agroornont, with ali oovonanto‘
unreornonto, rand roquirornonis ot l.oan Dooumonts including my agreement to mal<o oil
harmonts of toxos. insurance nromiurns, oosossinonts, Esorow ltomrz, impounds, and all
other poyments, the amount ot Whlch may change periodically over lho tenn or my i..oan.

D, `ihot this Agroornont constitutes notice that tito Lonri@r's waiver no to payment of Escrow
ltorns, it ony, has boon rovoitool, and l novo boon advised or the amount noodot;i to fully i’unri
my enorow account

i‘undo for E£norow itorn‘a:
lvrill pay to l_oncior on the duty payments aro ciuo unclor the Loo.n Dooulnonir; as amended
i>y this A@roemonr, until the i,oern is paid in full, a sum (tiro "Fundo") to provide for
payment or amounts due fort (a) torres and oosooornunlo and other itonio which dan attain
priority ovor tho iviortgogo no o lion or encumbrance on the Proporly; (b) leasehold
payments or ground roots on iho Proporty, lt uny; (o) premiums ior any and oil insuranuo
rouuiroti by t,onrier unuor the toan iJooumants,; (<;l) mortgage insurance promiurno, ii
nny. or any sums payable to Londor in lieu or tito payment of mortgogo insurance
premiums in accommth with tito l,oan Doournonto; and (o) any community association
cluos, roos, ann ooseosmonto that Lon<ier requires to tro escrowod. these items aro
onlle "Escrow items." l shall promptly furnish to i-encior oil notions ot amounts to bo polo
untior this Seotion ri.i). l ohoil pay Londor tho i~`untlo for Eoorow items unioso l.onttor
Werivos my obligation to pay the t~“uncls for any or oil t`isorow ltorne. Londr~.=r may Woivo my
obligation to pay to l.ondor Funtis for any or oil Escrow ltorno at any timo. Any such
waiver moy only ho in writing in the event of such woivor, i shott pay oirootly, when and
where poynt)lo. the amounts due ior any Esornw items for which payment ot Frinds hon
noon Walvod by toner anci, ii l.onoer requires, small furnish to Lenoer rocoipts evidencing
such payment within Such tirno period ass tender may requiro. iviy obligation to make such
payments and to provide roooipis shall for nil purposes too deemed to tro a oovonunt and
agreornont contained in tito Lozrn Docurnonio, no the phrase “covonont and agroornont"
to used in tho Loan Doournonto. ltl orn obligation to pay Esorow items directiy. pursuant
to a wali/on and i rail to play tho amount due for on Esorow itom, Lencior may exoroiso its
rights under tho t.oon Doournonto otto this AQroomont and pay such amount and l Sh;»tli
then bo ooiigatod to repay to Lontior any such amount tender may rovoi<o the waiver ns
to any or ali tisorow ltonto at any time by a notice union in anoordont:o with the Loon
Doournonto, nnci, upon stroh rovoootion, l shall pay to Lontlor oil Funcis, and in Suoh
ornounto. that are iith required under thin Snotion 4.\3.

Londor may, at ony timo, collect and hold i:unclo in on amount (n) suliiciant to
§ormlt Lenrior to apply trio i~"untte at l'no tinno specified under tho Roni Eolalo Sotiioinont

rooeciuros Act (”RESPA"), and (b) not to motion the maximum amount n lender can

require under RESW\. l.onclor shott ostirnnio tito amount or i`¢unds ciuo on the basis or
ourront onto and reasonable ootirnatos or expenditures of iutona Eoorow horns or
otherwise in occordanoo with applicable iotv.

'i`ho'Funtis shall ho hold in an institution whom deposits ore insuer by o federal
agonoy, instrumentality or entity linoluding i_ontior, it Londer is on institution whose
dopootts one so insurecl) or in any Fodorat tiome Loon Bank. Loncior shall apply the

MUL.`l`iS’l"ATE HOME AFFGRDABLE rl*iODlFlGATiON AOR€’:'EMENT ~9!ngio anily - Fur‘m 3167 3103 (pago li 0/ 7)
Bit£i O€i!i)il

 

 

   

 

 

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i‘urrds to pay the Esorcw items no later then thor time specified under RESPA, Londer
shall not chach me icr holding and applying tito Funds, annually analyzing the escrow
accountl or verity/ing the E$crow ltomc, unlooo Lcndor pays mo interest on the Fundc and
applicable law permits Lcndor to make such a chargo. Unleos on agreement is mario rn
Writing or applicahio law requires interest to he paid on the Funds, t.onder shall not he
required to poy mo any interest or admirth on the Funr;io. Londor and l can agree in
willinu. horror/nn that interest shall bc paid on the l-°undo, Lcndor shall provide me.
without chargo, on annual accounting ortho Funrlo ns required try RESPA.

lt there in a surplus of Fuhcln held in oocrow, as noticed unclear RESPA, Londcr
shall account to mo for the excess funds in accordancc with RESPA, lt there is o
shortage ot Fundc hold in escrow, as dotsnod under RESPA, Londcr ohali notify me ns
required by iftESPA. and l shall pay to t.@ndor the amount ncoossnry to make up inc
shortan in accordance with RESPA, but in no more than 12 monthly paynronto. li there
is a deficiency ci Fundc hold in oscrow, as deunod nner RESPA, Lcndor shall notify mo
as required by RESPA, rand i shall pay to t.onder ina amount noooe~cary to mai<o up the
deficiency tn accordance with RESF’A, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by inc Locn ilocurnnnts, l.onder shall
promptly refund to mo any Funds hold by l-cndor.}

E. That tho Loon Documonts ore composed of duly volid, binding agrcornontc, entorcecl)lo in
accordance with their toran and are hereby reaffirmed '

F. that oil forms and provisions of the Lonn Documonis, except as oxnroosiy modified ny this
Apronmcnt, remain in full force and cftcct; nothing in this Agrocment shall bc undermined or
construed to he n enlisiaciioh or release in whole or in part or tito obligations contained in the
t.oon Docurncnts; and that except as otherwise specifically providod in, and drs expressly
modlhed by, this Agreomont, the i_cndcr and lwill bn bound hy, and will comply wiih, oil of the
terms and conditions cf thc Lcan Dooumonts.

G. Tll&i. as of the iviodlilcaticn Eilooiivo Dzrto, notwithstanding any other provision ct the i.oan
t)c<;umcnts, l agroo as iotiowo; if all or any port ot the Prcporiy or any interest in lt in ‘sclcl or
transferred without Leirdor‘s prior writton consent t.endor mann at itc option, requires
immediate payment in full ct all sums secured by the inongago. l~iowcvor, l~cndor shall not
exercise this option tr slate or iodorat law. rules or regulations prohibit inc o><or-clse or such
option as or thc date cl such colo or tranoion li Lonclor exercises thin option, Lendor shall
givo mo notice or acceleration The notice shall provide a period of not loss than 30 days
lrorn the date inc notice to delivered or mailed within which t must pay cit sums secured by the
ivlortgcget lt t fait to pay those cumo priortc the expiration orthio noriod, Londcr may invoke
any remedies permitted by inc Mortgago without further notice or demand on rnc.

l~l. Thnt, as of the Modil'rcotion Eifec`tive Doto. l understand that the toner will only allow the
lronoicr and assumption cf thc i.oan, including this Agreomcni, to o transferee of my property
on permitted under the t'~$nrn St, C~iormaih Act, “i2 U.S.C. Scction ii'O'il»S, A buyer or
transferee of thc Proporty will not be pcirnittcd, under any other clrournstonco, to ascurne thc
Loon. E)<ccpt no noted heroin this Agro-cmont moy not be assigned io, or assumed by. d
buyer or transferoc of the Proporty.

i. That, as oi the ivlodihcation t§it'octive Doto, irony provision in the i\lotc~ or in any addendum or
amendment to tim hloic allowed ior the amendment of a penalty for full or partial prepayment
ct tito Note, such provision is null and vold.

J. i'hai, l will economic fully with Londor in obtainan any into ondorcornonl(s), or similar tilto
insurance‘product(o , and/or subordination ogrcr~nnont(s) that aro necessary cr required l:)y
the ,Lendcr's proco tires to onsure that inc modihod mortgage loan is in first lion position
and!or in fully enforceable upon modification and that ii, under any circumstance sand not

witheronding anything elsc to the contrary in this Agrcomont, the tender does not receive
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such title endorsement(s), title insurance product(s) end/or subordination agreement(s), then

' - the terms of this Agreernent will not become effective on the Modlilcation Effeotlve'Date end
the Agreeme'nt will be null and void.

K. That l will execute such other documents as may be reasonably necessary to either (i)
consummate the terms and conditions of this Agreement; or (ll) correct the terms and
conditions of this Plan if an error is detected after execution of this Agreement. l understand
that aooneoted Agreement will be provided to me end this Agreement will be void and of no
legal effect upon notice of such error. if l elect not to sign any such corrected Pgreement, the
terms of the original Loan Documents shall continue in full force and etfeot, such terms will

not be modified by this Agreement, and l will not be eligible for a modilioetlon under the Home
Affordable Modlfication prograrn.

L lvior_tgage t.=.leo ronlc Reglsiration Syétems. lnc. (“MERS“) is a separate corporation organized
and existing u der the laws of Deiaware and has an address and telephone number of P.O.
Box 2026, Fli t, Ml 48501-2028, (888) 679-MERS. in cases where the ioan has been
registered wl MERS who has only legal title to the interests granted by the borrower in the
mortgage and who is acting solely as nominee for Lender and Lender's successors and
assig}r;s. MER has the rlght: to exercise any or all of those lnterasts, lncludlng, but not limited
to, t right t foreclose end sell the Property; and to take any action required of Lender
including, but ot limited to, releasing and canceling the mortgage ioan.

M. Thet Lender lli collect and record personal lnformeticn, lnciucling, but nctiimited,to, my
name, sddre , telephone number, social security number. credit score. income, payment
history, gave ment monitoring lnformalion, and information about account balances and
ectiviiy. in ditlon, l understand and consent to the disclosure of y personal information
and the term of the Trial Perlod Pian and this Modittcatlon Ag nt by Lender to (a) the
U.S. Departm nt cline Treasury, (b) Fannle ivlee and Freddie Nlao in connection with their
responsibillii under the Horna Affordabliity end Stablllty Plan; (c) 'any investorl lnsurer,
guarantor or ervioer that owns, lnsuree, guarantees or services my first lien or subordinate
lien (lf eppil bie) mortgage icen(s); (_d) companies that perform support services for
the Home Aff rdahie Modtficatlon Program end the Second Lien Nlodll'lcatlon Prograrn; and
(e) any l-tUD ertilied housing couneeicr.

N, l agree that l any document related to the Loan Documents and/or this /\qreement is iost,
misplaced, m tated, inaccurately reilecls the true and correct terms _and conditions of the
loan as mod' ed, or is otherwise misslng. lwill comply with the Lendan request'fo execula,
acknowledga, initial and deliver to the Lendet‘ any documentation the ¢Lencter deems
necessary. if the original promissory note is replaced, the t.ender hereby lndemnlfies me
against any l ss associated with a demand on the original note. Atl documents the Lender
requests of m under this Soctlon 4.N. shall be referred to as “Documenca." l agree to deliver

the Docume s within ten- (10) days after 'i receive the Lender's written requester such
replacement '

  
  
  
  
  
 

 

O. l understand hat the mortgage insurance premiums on my loan may increase as a result of
the capitalization which will result in a higher monthly payment Furtherrnore. the dale on

which l may request canceletion of mortgage insurance may change as a result cl the higher
unpaid principal balance.

P. l also agree to allow Lender to attach en Exhiblt A to this loan modification which witt lnclude a
Legel Deeorlption, recording lnfonnation of the original security inelrument,,and any other

relevant information required by a County Clerk 193 Ofllce to allow for recording if and when
recording becomes necessary for Londer. ' _

MULTiB'l'ATE HCME AFFCRDABLE MODIF|OATIQN AGREEMENT ~ ainng Famlly - Form 315]' v3108 (page 6 al 7)

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` ' y The tender and i have executed this Agreemortl.

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- "* .The Lander and l have executed this Agreemant

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Nom n For BAC Home Loans Sey¢::n¥ng,.l.'P `

 

 

 

 

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